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                                                U.S. Department of Justice
                                                    Civil Rights Division


SHR:LLC:RJG:JDH                                     Special Litigation Section – 4CON
                                                    950 Pennsylvania Ave, NW
DJ 207-61-1                                         Washington DC 20530



                                                    November 15, 2021
                                                    Via mail and email


Robert Taylor, City Attorney
Office of the City Attorney
City of Portland, Oregon
1221 SW 4th Avenue, Suite #430
Portland, OR 97204
email: Robert.Taylor@portlandoregon.gov

Charles Lovell, Chief of Police
Portland Police Bureau
City of Portland, Oregon
1111 SW 2nd Avenue
Portland, OR 97204
email: Charles.Lovell@portlandoregon.gov

       RE:     United States v. City of Portland, 3:12-cv-02265-SI
               Requested Body Worn Camera Policy Principles

Dear Mr. Taylor and Chief Lovell:

        As monitors of the Amended Settlement Agreement (Agreement) in the above-referenced
case, on April 2, 2021, we provided the City of Portland (City) with a notice of noncompliance
pursuant to Paragraph 178 of the Agreement. As we discussed publicly with the Portland
Committee on Community Engaged Policing, Settlement Agreement & Policy Subcommittee on
July 15, 2021, and the Court on August 24 and November 9, 2021, one of the remedies we
believe would address the City’s noncompliance with the Agreement is a properly implemented
program for the use of body worn cameras (BWCs) by members of the Portland Police Bureau
(PPB). The City has requested that we set forth principles for a policy governing a BWC
program that would fairly and adequately remedy the notice of noncompliance. Accordingly, we
write today to provide the requested principles that the United States would seek in a BWC
policy that we review pursuant to our policy-review-and-approval provisions of the Agreement.

        The United States believes that a BWC policy should be informed by public input, which
should be collected as soon as possible and before PPB drafts and adopts a policy. We also
believe that the terms of a BWC policy should adhere substantially to the following principles in
order to address the concerns raised by the notice of noncompliance:

       a.      Deployment: BWCs shall be worn by all on-duty uniformed patrol officers,
               sergeants, and PPB members who take part in SERT, patrol, traffic, and
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     crowd-control operations, regardless of rank. All other PPB employees, including
     sworn, non-uniformed personnel, may be assigned BWCs according to policy
     adopted by the City pursuant to the process required by the Agreement.

b.   Notice: BWCs shall be conspicuously worn by the PPB members required to
     wear the BWCs according to policy. Such members shall provide verbal notice at
     the beginning of an interaction, or as soon as safe and practicable, that the
     interaction is being recorded.

c.   Activation, Deactivation, and Buffering:

     1. BWCs shall be subject to automatic activation when a member draws a
        firearm or ECW, when a member initiates a vehicle pursuit, and in other law
        enforcement activities established by policy adopted by the City pursuant to
        the process required by the Agreement.

     2. Members shall activate their BWCs in the following situations:

             i. when dispatched to a call for service;

            ii. when engaged in contact with a member of the public based on
                reasonable suspicion or probable cause that a crime has been, is being,
                or will be committed as provided by ORS 133.741 and consistent with
                ORS 181A.250;

           iii. when otherwise engaged in law enforcement activities in contact with
                a member of the public, except in sexual assault investigations, death
                notifications, or other law enforcement activities, consistent with state
                law, including ORS 181A.250 and established by policy adopted by
                the City pursuant to the process required by the Agreement.

     3. Members shall document their BWC activation in their reports.

     4. BWCs will be deactivated no sooner than the termination of the member’s
        participation in the contact and otherwise as established by policy adopted by
        the City pursuant to the process required by the Agreement. BWCs may be
        deactivated or muted in other activities as established by policy.

     5. BWCs will include 30 seconds of video buffering when activated and
        deactivated.

d.   Authorized Uses:

     1. The City shall authorize PPB supervisors to review BWC recordings,
        including live-action footage, for any lawful management purpose.



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               2. The City shall authorize the Auditor’s Office and IPR or its successor to
                  review BWC recordings for any lawful auditing investigative purposes.

               3. The City may download and access BWC recordings as required for
                  evidentiary purposes, including but not limited to criminal investigations,
                  administrative investigations, training purposes, After Action Reports, and
                  force or critical incident reviews.

               4. BWC recordings may be disclosed without a public records request to comply
                  with obligations under Brady v. Maryland, 373 U.S. 83 (1963), to facilitate
                  joint investigations, to evaluate officer performance, for use by the Training
                  Division, and as otherwise provided by policy adopted by the City pursuant to
                  the process required by the Agreement.

       e.      Prereview: When an officer uses force, the officer shall not review any BWC
               recordings before reporting the force as required by Paragraph 69 and completing
               all other reports associated with the same incident. Except in the case of a
               Category 1 force event, after completing their required reports, a member may
               review any BWC recording associated with the incident and prepare separate
               supplemental reports with additional information. For Category 1 force events,
               involved and witness members shall not review BWC recordings prior to
               providing their interviews and obtaining prosecutorial approval.

       f.      Control of Video: BWC recordings in their original form will be maintained by a
               third-party vendor that the City contracts with to provide BWC services; however,
               the City will retain ownership and control of all BWC footage, as required by
               Oregon state law.

       g.      Accountability: Members shall be subject to the disciplinary process for violating
               the approved BWC policy, consistent with the requirements of this Agreement.

       We understand that the City may bargain certain aspects of a BWC policy with its
represented employees. If the City does so, or becomes a party to interest arbitration or a
labor-practices action or other challenge, we expect the City to provide the United States notice
and keep us apprised of the status of any such negotiation or challenge pursuant to Paragraphs
185 and 186.

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       We hope this written guidance is useful to the City and PPB. Please contact us if you
would like to discuss these issues further.

                             Sincerely,

                             /s/ Jonas Geissler            /s/ Jared D. Hager

                             R. Jonas Geissler             Jared D. Hager
                             Senior Trial Attorney         Assistant U.S. Attorney
                             Civil Rights Division         District of Oregon
                             Department of Justice


cc:    Hon. Stacie F. Beckerman, SBpropdoc@ord.uscourts.gov
       Vamshi Reddy, Assistant City Attorney, Vamshi.Reddy@portlandoregon.gov
       Heidi Brown, Chief Deputy City Attorney, Heidi.Brown@portlandoregon.gov
       Mary Claire Buckley, Inspector General, Portland Police Bureau,
       MaryClaire.Buckley@portlandoregon.gov
       Anil Karia, Counsel for Defendant-Intervenor, Portland Police Association,
       anil@pslglawyers.com
       Kristen Chambers, Counsel for Enhanced Amicus, AMAC, kristen@prism-legal.com
       Ashlee Albies, Counsel for Enhanced Amicus, AMAC, ashlee@albiesstark.com
       Juan C. Chavez, Counsel for Amicus, Mental Health Alliance, jchavez@ojrc.info
       Franz H. Bruggemeier, Counsel for Amicus, Mental Health Alliance,
       fbruggemeier@ojrc.info
       Dennis Rosenbaum, Compliance Officer, dennisrosenbaum3@gmail.com
       via email only




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